Case 2:05-cr-20049-BBD Document 26 Filed 07/07/05 Page 1 of 2 Page|D 24

D.
lN THE uN\TED sTATEs DlsTRlcT couRT w a¢j-- °‘

FoR THE wEsTERN DlsTRlcT oF TENNEssE _ _ z
wEsTERN olvlsloN EOS JUL 7 9le 23

 

uNlTED sTATEs oF AMERICA `wk)%§ iit§:r.lrplis

P|aintiff

VS.
CR. NO. 05-20049-D

NORMAN CARR|CK

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SET`|'|NG

 

This cause came on for a report date on Ju ne 30, 2005. At that timel counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with

a report date of Thursday, August 25, 2005ll at 9:00 a.m., in Courtroom 3 9th F|oor of
the Federa| Bui|ding, Memphis, TN.

 

The period from Ju|y 15, 2005 through September 16l 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

iT ls so oRDERED this /£ *‘\day or July, 2005.

  

  

RN|CE B. ONALD
N|TED STATES D|STR|CT JUDGE

  

This document entered on the docket sh
with time 55 andf`or 32;`?\) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
ease 2:05-CR-20049 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

ENNESSEE

 

David Pritehard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

DeWun R. Settle

LAW OFFICE OF DEWUN R. SETTLE
100 N. Main Bldg.

Ste. 3001

Memphis7 TN 38103

Honorable Berniee Donald
US DISTRICT COURT

